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                                         #846

                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff(s),               )
                                                 )
                     vs.                         )     CASE NO. 07-CR-30087-MJR-8
                                                 )
DAVID M. MURRAY,                                 )
                                                 )
                     Defendant(s).               )
                                                 )


                   ORDER AMENDING CONDITIONS OF RELEASE

WILKERSON, Magistrate Judge:

       Upon request of the U.S. Probation Office, the Order Setting Conditions of Release

(Document No. 238) as to the above-captioned defendant entered August 6, 2008, by United States

Magistrate Donald G. Wilkerson, is AMENDED as follows:

       (T)    The defendant shall participate in a program of mental health
              treatment, as directed by the U.S. Probation Officer, until such time
              as the offender is released from the program by the U.S. Probation
              Officer.




DATED: September 3, 2008


                                                     s/ Donald G. Wilkerson
                                                     DONALD G. WILKERSON
                                                     United States Magistrate Judge
